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United States District Court NOV 19 ef)

District of Maryland

 

AT BALTIMORE

CLERK US. DISTAICT COL JRT
Adeola Mitchel, ) By ENS oo ry
)
Plaintiff, —) CIVIL ACTION
)
V. )
)
LVNV Funding LLC, __)
)
Defendant. )
INTRODUCTION

1, This is an action for actual and statutory damages brought by Plaintiff

Adeola Mitchel (‘Plaintiff’), an individual consumer, against Defendant LVNV

Funding LLC (“Defendant”) for violations of the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. (hereinafter “FDCPA”), which prohibits debt

collectors from engaging in abusive, deceptive, and unfair practices.

JURISDICTION

2 This is a civil action to enforce liability created under the FDCPA.

3. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d).

4. —_ Jurisdiction of this court arises under 28 U.S.C. § 1337(a).

VENUE

Ds Defendant is a artifical person.

6. Defendant is domiciled in Greenville County, South Carolina.

7. Defendant resides in in Greenville County, South Carolina.
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8. Venue in this court is proper under 28 U.S.C. § 1391(b)(1).

9. A substantial part of the events or omissions giving rise to Plaintiff’s
claim herein occurred in this judicial district.

10. Venue is this court is proper under 28 U.S.C. § 1391(b)(1).

PARTIES

11. Plaintiff is a natural person.

12. Plaintiff is allegedly obligated to pay an alleged $18,114 debt to
Defendant.

13. LVNV Funding LLC’s office address is 15 South Main Street, #600
Greenville, South Carolina 29601.

14. Plaintiff resides in Fredrick County, Maryland.

15. Plaintiff is a “consumer” as defined under 15 U.S.C. § 1692a(3).

16. Defendant is engaged in the business of collecting debt in this state
with his principal place of business located at 15 South Main Street, #600
Greenville, South Carolina 29601.

17. | Defendant’s principal business includes the collection of debts in this
state.

18. Defendant regularly attempts to collect debts alleged to be due

another.
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28. Defendant has further attempted to collect the alleged debt from
Plaintiff by reporting the alleged debt to consumer reporting agencies instructing
and causing consumer reporting agencies to publish the alleged debt in consumer
reports concerning Plaintiff.

29. Defendant caused the alleged debt to be on Plaintiff's consumer
reports.

30. Plaintiff is not indebted to Defendant for $18,114.

31. Plaintiff is not indebted to non-party Synchrony Bank or Defendant
for $ 18,114.

32. Plaintiff has not promised to pay non-party Synchrony Bank or
Defendant $18,114.

33. Plaintiff has not consented to or entered into any cofitract With
non-party Synchrony Bank or Defendant promising to pay it $ 18, 114.

CLAIM FOR RELIEF

34. Plaintiff realleges and incorporates the foregoing paragraphs verbatim.

35. Defendant violated the FDCPA as to its conduct toward Plaintiff.

36. Defendant’s FDCPA violations include, but are not limited to:

a. Engaging in collection activity to harass,
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37.

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. Oppress, or abuse Plaintiff in connection with the collection of an

alleged debt of approximately $18,114 in violation of 15 U.S.C. §

1692d;

. Falsely representing the character, amount, or legal status of an

alleged debt of approximately $18,114 in violation of 15 U.S.C. §

1692e(2)(A);

. Using false representation or deceptive means via its collection

activity and dunning letter(s) or credit reporting to collect or attempt
to collect an alleged debt of $18,114 from Plaintiff in violation of 15

U.S.C. § 1692e(10);

. Failing to disclose in communications from Defendant to Plaintiff that

the communication is from a debt collector in Violation of 15 U.S.C. §

1692e(11);

. Attempting to collect $18,114 from Plaintiff when such amount is not

expressly authorized by law or any agreement creating the amount;

As a result of the foregoing violations of the FDCPA, Defendant is

liable to Plaintiff for actual damages, statiitory damages, and costs and attormney’s

fees.

WHEREFORE, Plaintiff respectfully requests that judgment be entered

against Defendant for the following:
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a. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

b. Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A);

c. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §
1692k(a)(3); and

d. For such other and further relief as the Court may deem just and
proper.

Respectfully submitted,

Dated: ets Cn
Adeola Mitchel
529 Primus Ct
Frederick MD 21703
Telephone: 240 529 2958
Email: ademitchel964@gmail.com

 

PLAINTIFF (pro se)
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DEMAND FO Y TRIAL

Please take notice that Plaintiff demands trial by jury in this action if so
triable.

Respectfully submitted,

DocuSigned by:
11/12/2021 [voahof
Dated: C7E11A48662F416...

Adeola Mitchel

 
